     Case 2:14-cr-00168-TOR             ECF No. 1304         filed 11/12/15       PageID.6874 Page 1 of 2
PROB 12C                                                                             Report Date: November 12, 2015
(7/93)

                                        United States District Court

                                                        for the

                                         Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Angel N. Lyons                             Case Number: 2:14CR00168-TOR-19
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: August 31, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison - 5 days                     Type of Supervision: Supervised Release
                          TSR - 36 days
 Asst. U.S. Attorney:     George J. C. Jacobs, III            Date Supervision Commenced: September 6, 2015
 Defense Attorney:        Federal Defender’s Office           Date Supervision Expires: September 5, 2018

                                            PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 11/03/2015.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           9            Special Condition # 14: You shall abstain from alcohol and shall submit to testing
                        (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                        than six tests per month, in order to confirm continued abstinence from this substance.

                        Special Condition # 19: You shall abstain from the use of illegal controlled substances, and
                        shall submit to urinalysis testing, as directed by the supervising officer, but no more than six
                        tests per month, in order to confirm continued abstinence from these substances.

                        Supporting Evidence: On November 9, 2015, Ms. Lyons failed to appear for random drug
                        testing at Alcohol Drug Education Prevention and Treatment (Adept).
      10 and 11         Standard Condition #6: The defendant shall notify the probation officer as least ten days
                        prior to any change in residence or employment.

                        Supporting Evidence: On or about November 5, 2015, Ms. Lyons changed her residence
                        and failed to report it to her U.S. probation officer at least ten days prior to the change.

                        On or about November 5, 2015, Ms. Lyons changed her employer and failed to report it to
                        her U.S. probation officer at least ten days prior to the change.
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Re: Lyons, Angel N
November 12, 2015
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                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     11/12/2015
                                                                        s/Melissa Hanson
                                                                        Melissa Hanson
                                                                        U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                        Signature of Judicial Officer

                                                                        November 12, 2015
                                                                        Date
